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 10                      UNITED STATES DISTRICT COURT
 11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 UNITED STATES OF AMERICA,                 Case No.: 2:22-cr-00394-DMG
 14
             Plaintiff,                       YASIEL PUIG’S NOTICE OF
 15                                           MOTION AND MOTION TO
 16        v.                                 COMPEL DISCOVERY
                                              REGARDING JANUARY 27, 2022
 17 YASIEL PUIG VALDES,                       INTERVIEW
 18
             Defendant.                       [Declaration of Keri Curtis Axel filed
 19                                           Concurrently]
 20
                                              Hearing Date: August 30, 2023
 21                                           Courtroom of Hon. Dolly M. Gee
 22
 23
 24
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 26
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                    DEFENDANT YASIEL PUIG’S MOTION TO COMPEL DISCOVERY
                           REGARDING JANUARY 27, 2022 INTERVIEW
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   1                      NOTICE OF MOTION AND MOTION
   2        TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
   3 RECORD:
   4        PLEASE TAKE NOTICE that on August 30, 2023 at 1:30 p.m., or as soon
   5 thereafter as the matter may be heard in front of the Honorable Dolly M. Gee,
   6 located in Courtroom 8C of the United States Courthouse, 350 West 1st Street, Los
   7 Angeles, California 90012, Defendant Yasiel Puig Valdes (“Puig”) will and hereby
   8 does move for an order compelling the government to produce discovery regarding
   9 Puig’s January 27, 2022 interview conducted by agents of Homeland Security
 10 Investigations, the Internal Review Service, and the United States Attorney’s Office
 11 (“government”). Puig and the government have met and conferred in good faith
 12 regarding the production of the above-referenced material, however, the government
 13 has refused to produce the discovery as requested. (Declaration of Keri Curtis Axel
 14 (“Axel Decl.”) ¶¶ 2-8.) The parties also met and conferred as to the briefing
 15 schedule and August 30, 2023 hearing date for the instant motion to compel
 16 (“Motion”). (Id. ¶ 9.)
 17         This Motion is based on this notice, the attached memorandum of points and
 18 authorities, the declaration of Keri Curtis Axel and accompanying exhibits, the
 19 pleadings, papers and records in this action, any matters of which this Court shall
 20 take judicial notice, and such further evidence or argument as Puig may present
 21 prior to or at any hearing on this Motion.
 22
 23 DATED: August 2, 2023                        WAYMAKER LLP
 24
 25                                     By:    /s/ Keri Curtis Axel
                                              Keri Curtis Axel
 26                                           Jose R. Nuño
                                              Attorneys for Defendant Yasiel Puig
 27                                           Valdes
 28
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   1               MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.     INTRODUCTION
   3        Defendant Yasiel Puig (“Puig”) respectfully moves the Court for an order
   4 compelling the government to produce written and otherwise recorded material
   5 relating to Puig’s January 27, 2022 interview by the government. These materials
   6 are:
   7        •     Handwritten and typed notes taken by all members present at the time
   8              of interview (“Notes”).

   9        •     Outlines summarizing the subject interview that is not the Report of
                  Interview (ROI) already in custody with the defense, including drafts
 10               (“Summary Outlines”).
 11
            •     Government outlines or other preparation material used for questioning
 12               Puig (“Questioning Outlines”).
 13
            •     Correspondence between government agents and attorneys that contain
 14               or refer to the substance of the Puig’s interview (“Correspondence”).
 15         The defense is entitled to receive this requested discovery pursuant to Federal
 16 Rule of Criminal Procedure 16(a)(1)(B)(ii), Brady and its progeny, and other
 17 applicable case law, because the discovery request is critical for Puig’s defense to
 18 the two dispositive issues of this case: whether he (1) “knowingly and willfully” (2)
 19 “[made] any materially false, fictious, or fraudulent statement or representation[.]”
 20 See 18 U.S.C. § 1001. These elements are, respectively, the mens rea and actus
 21 reus of the case – the two bedrock requirements of criminality – and the requested
 22 materials are directly relevant to both elements. Given the circumstances of this
 23 case, including Puig’s language barrier, the fact that the interview was administered
 24 remotely, and inconsistencies between Puig’s Report of Interview (“ROI”) and
 25 purported facts the government has submitted in materials before the court, even a
 26 small discrepancy between what Puig actually stated and meant and how the
 27 government understood his words could be impeachment material, exculpatory
 28 evidence, or even grounds for dismissal. “[L]ife, liberty, or property will not be
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   1 taken on the basis of an erroneous or distorted conception of the facts or the law.”
   2 Goldberg v. Kelly, 397 U.S. 254, 271 (1970). The requested discovery should be
   3 compelled.
   4 II.    FACTUAL AND PROCEDURAL BACKGROUND
   5        A.     The January 27, 2022 Interview of Yasiel Puig
   6        Beginning sometime in 2017, the Department of Homeland Security –
   7 Homeland Security Investigations (“HSI”), Internal Revenue Services (“IRS”), and
   8 the United States Attorney’s Office for the Central District of California (“USAO”)
   9 (collectively “the government”) launched an investigation into the “Nix Gambling
 10 Business.” (First Superseding Indictment (“FSI”) (Dkt. 54) ¶¶ 6-9.) As part of this
 11 investigation, the government interviewed various targets (i.e. operators of the
 12 gambling business) of the investigation as well as non-target witnesses. (See
 13 February 22, 2023 Declaration of Jeff Mitchell (Dkt. 73-1) ¶ 6.) Puig was one of the
 14 witnesses the government sought to interview.
 15         On January 27, 2022, Special Agents (“SAs”) Jason Canty and Chris
 16 Seymour, and Assistant United States Attorneys (“AUSA”) Jeff Mitchell and Dan
 17 Boyle, interviewed Puig. The subject of the interview was purportedly “Puig’s
 18 knowledge and relationship with [Agent 1] and Wayne Nix.” (See Puig ROI at
 19 February 14, 2023 Declaration of Jose R. Nuño (Dkt. 67) Ex. C at 2.) The interview
 20 was conducted through a remote teleconferencing platform. (Id.; see also Mitchell
 21 Decl. (Dkt. 73-1) ¶¶ 11, 16.) To assist with the interview, the government retained a
 22 Spanish language interpreter, Esther Hermida (“Hermida”). (Id. ¶ 14.) The
 23 interview had translation issues and was not recorded. (Nuño Decl. (Dkt. 67) Ex. C
 24 at 2.) Puig was represented by his former counsel at the interview, not the
 25 undersigned counsel. (Id.)
 26         Following the interview, a report of investigation (“ROI”) was prepared by
 27 SA Canty to summarize the interview, and the ROI was approved on January 31,
 28
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   1 2022. (See Nuño Decl. (Dkt. 67) Ex. C at 1.) The interview lasted approximately
   2 an hour and half, from 2:11 p.m. until 3:41 p.m. (Id. at 1, 5.)
   3        B.     The Government Charges Puig with False Statements and
   4               Obstruction of Justice Based on His January 27, 2022 Interview
   5        On January 20, 2023 the government filed its FSI against Puig. (See FSI
   6 (Dkt. 54).) The government charges Puig with one count of obstruction of justice in
   7 violation of 18 U.S.C. § 1503(a), and one count of False Statements in violation of
   8 18 U.S.C. § 1001(a)(2), using the same factual basis and January interview to charge
   9 both counts. (Id. ¶¶ 27-29.)
 10         With respect to obstruction, the government states that, on January 27, 2022,
 11 Puig “falsely stated that he had never discussed sports gambling with Agent 1 and
 12 withheld information about Agent 1’s involvement with bets made by defendant
 13 Puig and the payment of defendant Puig’s gambling debts.” (Id. ¶ 27.) Regarding
 14 the purported false statements, the government states that Puig knowingly and
 15 willfully made materially false statements during his interview, contending that on
 16 January 27, 2022, Puig “falsely stated that he had never discussed or talked about
 17 sports betting with Agent 1”; “falsely stated that he had placed a bet online with an
 18 unknown person on an unknown website which resulted in a loss of $200,000,” and
 19 “falsely stated that he did not know the individual who instructed him to send
 20 $200,000 in cashiers’ checks to [Individual A] and that he had never communicated
 21 with that person via text message.” (FSI ¶¶ 29(a)-(c).)
 22         Because these statements are the alleged actus reus of the purported crime,
 23 what exactly was said in the interview is the key issue in the case. But, as detailed
 24 below, since the litigation began, the government has recited and characterized facts
 25 about the January 27, 2022 interview that are inconsistent with the ROI. The factual
 26 inconsistencies are material to the charged offenses.
 27
 28
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   1        C.     The Government Refuses to Produce Relevant Notes Pertaining to
   2               Puig’s Interview and Charges in Response to Puig’s Requests
   3         For more than 6 months, the defense has requested all handwritten and typed
   4 notes from Puig’s January 27 interview pursuant to Jencks, Brady, and the
   5 government’s obligations under Federal Rule of Criminal Procedure (“Fed. R. Crim.
   6 P.”) 16. Specifically, on January 20, 2023, the defense requested inter alia:
   7        •      Any and all handwritten or typed notes from Mr. Puig’s proffer session
                   with the government on January 27, 2022, including notes taken by
   8               either agents or government attorneys;
   9        •      All written records containing the substance of any relevant oral
                   statement made by Mr. Puig in response to interrogation by a person
 10                hew knew to be a government agent, including, but not limited to, (i)
                   all law enforcement agency reports and (ii) all notes of law
 11                enforcement officers, whether or not used to prepare reports;
 12         •      The substance of any other relevant oral statements made by Mr. Puig
                   in response to interrogation... that the government intends to use at
 13                trial; and
 14         •      All reports, notes, or any tapes that relate to the circumstances
                   surrounding Mr. Puig’s questioning… include[ing] any rough notes,
 15                records, reports, transcripts, or other documents leading up to the
                   interview (including notes of conversations with counsel), notes of the
 16                interview, including attorney notes, and notes in which statements of
                   Mr. Puig or any other discoverable material is contained, and
 17                subsequent notes of any attorney conversations.
 18 (Declaration of Keri Curtis Axel (“Axel Decl.”) ¶ 2, Ex. 1.) The government
 19 responded only to the specific requests stating that it did “not believe these items are
 20 discoverable under the current state of the law” and asked for case law to support
 21 the requests. (Id. ¶ 3.)
 22         On February 7, 2023, Puig responded to the government’s request for legal
 23 support and provided several cases and DOJ policies supporting the requests and
 24 why the documents were core material relevant to guilt and innocence. (Axel Decl.
 25 ¶ 4, Ex. 2.) Puig also requested all “agent communications with the government
 26 prosecutors, including regarding the preparation of ROIs/MOIs, the protocols to be
 27 used in interviewing witnesses, and decisions regarding whom to charge and why”
 28 as discoverable under Rule 16 and Brady. (Id.) On February 13, 2023, the
                                            4
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   1 government responded again, refusing to produce the requested documents and
   2 failing to acknowledge relevant case law cited. (Id. ¶ 5, Ex. 3.)
   3        On June 6, 2023, the defense again followed-up with the government on the
   4 requests for all inter alia, typed and handwritten notes and correspondence between
   5 agents and attorneys. (Axel Decl. ¶ 6, Ex. 4.) The government replied on June 9,
   6 2023 and again refused to produce the requested documents. (Id. ¶ 7.) Though the
   7 parties had met and conferred as described herein, on July 24, 2023, Puig notified
   8 the government of his intent to file the instant motion to compel discovery and
   9 offered to further meet and confer. (Id. ¶ 8.) The government confirmed the parties
  10 were at an impasse and the parties agreed to a hearing date and briefing schedule as
  11 required by the Court’s local orders.
  12 III.   ARGUMENT
  13        A.     Federal Rule of Criminal Procedure 16 Requires the Government
  14               to Produce the Requested Documents
  15        In this case, for which criminal liability is solely predicated on statements
  16 made by Puig, the plain language of the Federal Rules of Criminal Procedure
  17 requires the government to produce the requested documents. Specifically, Rule
  18 16(a)(1)(B) states:
  19               Defendant’s Written or Recorded Statements. Upon a defendant’s
                   request, the government must disclose to the defendant, and make
  20
                   available for inspection, copying, or photographing, all of the
  21               following:
  22
                           (i) any relevant written or recorded statement by the defendant –
  23                       if statement is within the government’s possession, custody, or
                           control; and the attorney for the government knows – or through
  24
                           diligence could know — that the statement exists;
  25
                           (ii) the portion of any written record containing the substance of
  26                       any relevant oral statement made before or after arrest if the
  27                       defendant made the statement in response to interrogation by a
                           person the defendant knew was a government agent; and
  28
                                                  5
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   1                      (iii) the defendant’s recorded testimony before a grand jury
                          relating to the charged offense.1
   2
   3         Rule 16 is plain and unambiguous and required production of any written
   4 record containing the substance of any relevant oral statement made by a
   5 defendant. See id. As observed by the court in United States v. W.R. Grace, 401 F.
   6 Supp. 2d 1087, 1090 (D. Mont. 2005), the substance of Rule 16(a)(1)(B)(ii) was
   7 added in 1991 and “recognizes that the defendant has some proprietary interest in
   8 statements made during interrogation regardless of the prosecution’s intent to make
   9 any use of the statements.” Id. The Advisory Committee’s Note to the 1991
  10 Amendments for Rule 16 similarly states: “‘[t]he written record need not be a
  11 transcription or summary of the defendant’s statement but must only be some
  12 written reference which would provide some means for the prosecution and defense
  13 to identify the statement.’” Id. (Citations omitted). It is clear that the plain language
  14 and intent of Rule 16 as amended, is very broad, requiring the production of
  15 anything in writing that contains the substance of any relevant oral statement.
  16         Applying this rule, in U.S. v. Almohandis, 307 F. Supp. 2d 253, 255 (D. Mass
  17 2004), the Court compelled the government to produce the agents’ rough notes of
  18 interviews with the defendant, interpreting Rule 16(a)(1)(B)(ii) to require
  19 “production of ‘any written record of the substance of any relevant oral statement.”
  20 Id. The Court found it irrelevant that the notes were later reduced to formal reports
  21 stating, “The notes are ‘a’ written record. They may not be the only written record,
  22 but they certainly are ‘a’ written record.’” Id.
  23
  24
  25   Similarly, Rule 16(a)(1)(A) requires that “[u]pon a defendant’s request, the
       1

  26 government must disclose to the defendant the substance of any relevant oral
     statement made by the defendant, before or after arrest, in response to interrogation
  27 by a person the defendant knew was a government agent if the government intends
  28 to use the statement at trial.”
                                                6
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   1         Other cases hold the same. See United States v. Stein, 424 F. Supp. 2d 720,
   2 728 (S.D.N.Y. 2006) (“The rule plainly requires production of ‘any written
   3 record’… and is ‘not limited to a typed, formalized statement’ or ‘a verbatim or near
   4 verbatim transcription.’”); United States v. Vallee, 380 F. Supp. 2d 11, 12 (D. Mass.
   5 2005) (“The language of Rule 16 plainly, and unambiguously, requires the
   6 production of any handwritten notes of government agents containing the substance
   7 of anything said by the defendant during the interrogation”).
   8         Here, the agent and attorney notes of the interview – whether or not an ROI
   9 was prepared – are a “written record” of the “relevant oral statement” and therefore
  10 must be produced, whether intended to be used at trial or not. See Almohandis, 307
  11 F. Supp. 2d at 255 (“Unlike Rule 16(a)(1)(A), the obligation to disclose [interview
  12 notes] exists regardless of whether or not the government intends to use the
  13 statement at trial.”) All of the elements of Rule 16(a)(1)(B)(ii) are met here: the
  14 defense has requested the production of all agent and attorney notes regarding
  15 Puig’s January 27 interview; these notes capture the substance of Puig’s oral
  16 statements; and the oral statements were made in response to government
  17 questioning and to person(s) Puig knew were government agents. Indeed, any typed
  18 and handwritten notes should be produced under this rule, as well as correspondence
  19 between government agents and attorneys that address the substance of Puig’s
  20 statements.
  21         Further, on the unique facts here, the government’s outlines or other
  22 preparation material used for questioning should be produced, because they are
  23 relevant to evaluating and putting in context the written records of the oral
  24 statements. Indeed, Puig’s alleged statements are in the form of answers to the
  25 questions posed (which came to the agents through a translator); and the substance
  26 of an answer cannot be complete without knowing its context, or, specifically in this
  27 case, what and how questions were asked to prompt that answer. For example, the
  28 ROI states that Puig “indicated that he (Puig) only knew [Agent 1] as [“nickname”]
                                               7
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   1 who Puig knew from baseball” but fails to include the questions that prompted that
   2 response. (See Nuño Decl. (Dkt. 67) Ex. C at 2-3.) The government has
   3 characterized this statement as Puig stating he knew Agent 1 exclusively from
   4 baseball (rather where they originally met) and thus the government’s questioning
   5 outlines are therefore relevant to determine what exactly was asked, which may
   6 inform what was translated, and therefore inform the purported answer itself. The
   7 documents should be produced.
   8         B.    The Government Has a Constitutional Obligation to Produce the
   9               Requests Under Brady and its Progeny
  10         Setting aside the government’s obligations to produce the requested
  11 documents under Rule 16, the documents are subject to disclosure under Brady v.
  12 Maryland, 373 U.S. 83 (1963) and its progeny. Brady is unequivocal. “The
  13 suppression by the prosecution of evidence favorable to an accused … violates due
  14 process where the evidence is material either to guilt or to punishment, irrespective
  15 of the good faith or bad faith of the prosecution.” Brady, 373 U.S. at 87; see also
  16 U.S. v. Sudikoff, 36 F. Supp. 2d 1196, 1201 (C.D. Cal. 1999) (in the pretrial context,
  17 Brady information is material that “‘might reasonably be considered favorable to the
  18 defendant's case,’… and likely to lead to admissible evidence.”) (Internal citations
  19 omitted). To that end, “[t]he due process obligation under Brady to disclose
  20 exculpatory information is for the purpose of allowing defense counsel an
  21 opportunity to investigate the facts of the case and, with the help of the defendant,
  22 craft an appropriate defense.” Perez v. United States, 968 A.2d 39, 66 (D.C. Cir.
  23 2009) (internal quotation and citation omitted); see also, Youngblood v. West
  24 Virginia, 547 U.S. 867, 869-70 (2006) (per curiam) (internal quotations omitted)
  25 (“Brady suppression occurs when the government fails to turn over even evidence
  26 that is known only to police investigators and not to the prosecutor.”).
  27         The requested documents are clearly Brady material in light of the charges for
  28 false statements and obstruction arising solely out of Puig’s January 27, 2022
                                                8
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   1 interview. Here, the alleged statements (or omissions, and indeed the questions and
   2 translation themselves) are the very actus reus of the alleged crime. For example,
   3 according to the ROI, “Puig indicated that he (PUIG) had placed a bet or bets
   4 online, had lost, and had sent the checks to the person listed ([Individual A]) based
   5 on direction from an unknown person” (See Nuño Decl. (Dkt. 67) Ex. C at 4.) This
   6 statement is the second purported false statement for which Puig is charged. (See
   7 FSI (Dkt. 54) at ¶ 29(b).) Thus, unlike any other case where interview notes and
   8 witness statements are withheld because they relate to a collateral crime for which
   9 the defendant is charged, here, the notes are contemporaneous accounts of the
  10 alleged crime itself. Withholding them in this situation is akin a situation where the
  11 government has charged the defendant with reckless driving and is then withholding
  12 contemporaneous eyewitness accounts of the car accident. These statements are not
  13 simply potential party admissions, but are accounts of the purported crime itself and
  14 subject to disclosure. 2
  15         The Ninth Circuit case U.S. v. Service Deli, 151 F.3d 938 (9th Cir. 1998), also
  16 a 18 U.S.C. § 1001 case, is instructive. There, defendant “Service Deli claim[ed]
  17 that the district court erred by refusing to require the government to produce all of
  18 its handwritten notes concerning interviews with Ditzel” it’s one key witness. Id. at
  19 942-43. Rather than turning over its handwritten notes, the government produced a
  20 typewritten summary (much like the ROI in this case) and “represented to the
  21 district court that the memorandum contained the substance of the [interview at
  22 issue].” Id. The Ninth Circuit observed that there were discrepancies between the
  23
       2
  24     Whether documents are in possession of government counsel or relevant agents
       makes no difference. The Ninth Circuit has held that Brady compels the government
  25   to produce all relevant information in possession of any agent involved in the
  26   subject prosecution. See U.S. v. Price, 566 F.3d 900, 908 (9th Cir. 2009) (“the
       district court should have considered whether the government failed to disclose the
  27   relevant information in the possession of any of its agents involved in [defendant]’s
  28   prosecution”).
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   1 notes and the summary memorandum such that the original notes were required to
   2 be disclosed and reversed the denial of defendant’s motion on Brady grounds. Id. at
   3 943. The Court noted that “the foundation of the government’s entire case rests
   4 upon the testimony of one key witness… [and was] clearly [] determinative of the
   5 defendant’s guilt or innocence” and held that the withheld government attorney
   6 notes fell “within the Brady rule and should have been produced by the
   7 government.” Id. at 944. The Ninth Circuit further concluded that the violation of
   8 defendant’s due process rights under Brady required it to vacate the conviction and
   9 remanded the case for a new trial. See id.
  10         Here, as in Service Deli, “the foundation of the government’s entire case rests
  11 upon the testimony of one key [individual]” – but in this case the individual is the
  12 defendant himself and the statements represent the alleged actus reus itself. See 151
  13 F.3d at 943. If the witness statements were “determinative of the defendant’s guilt
  14 or innocence,” in Service Deli, then Puig’s own statements and the questions that
  15 prompted them are certainly wholly determinative of Puig’s guilt or innocence here.
  16 Given the nature of the of the case, “credibility [i]s not just a major issue; it
  17 essentially [i]s the only issue that matter[s].” See id. at 944. A failure to produce
  18 the requested documents would constitute a violation of Puig’s due process rights
  19 and the government’s constitutional duties.
  20         In addition to written notes, the internal communications between government
  21 attorneys and agents regarding the Puig interview are also discoverable under Brady.
  22 In U.S. v. DeMarco, 407 F. Supp. 107, 110-11 (C.D. Cal. 1975) the court required
  23 the disclosure of a government internal memorandum which “reflected the
  24 conclusions of two material witnesses to” a meeting where defendant allegedly
  25 made admissions which formed the basis of the false statements against him. In
  26 rejecting the argument that the internal correspondence was not discoverable, the
  27 court held that “the fact that government memoranda are not discoverable under
  28 Rule 16(b) of the Federal Rules of Criminal Procedure cannot qualify the
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   1 government’s responsibilities under Brady. The very purpose of Brady was to make
   2 clear that the due process clause compels the production of material not otherwise
   3 discoverable.” Id. at 111, n. 2.
   4         The defense has been clear that the government is not per se required to
   5 produce all communications between its agents and attorneys but it is required to
   6 review them for “substance of any relevant oral statement” or otherwise for
   7 inconsistencies and Brady. However, the government has refused to even do as
   8 much, and simply asserts that it has no such obligations. That is not the law. The
   9 spirit of Brady cannot be stated more clearly than the Brady Court: “Society wins
  10 not only when the guilty are convicted but when criminal trials are fair; our system
  11 of the administration of justice suffers when any accused is treated unfairly.” Brady,
  12 373 U.S. at 87. The documents should be produced.
  13         C.    Discrepancies Between the Government’s Attestations, and the
  14               Nature of the Agents’ Notes, Further Justify Puig’s Requests for
  15               Discovery and are Grounds for Impeachment
  16         Puig’s requests should also be granted because his alleged actus reus and
  17 mens rea hinge on ambiguities and inconsistencies of fact in materials solely
  18 compiled and provided by the government. Not only do the actual discrepancies
  19 demonstrate why the notes are relevant under Brady, they are also clearly germane
  20 as impeachment materials subject to production.
  21         For evaluating production requests, “evidence is material as long as there is a
  22 strong indication that it will ‘play an important role in uncovering admissible
  23 evidence, aiding witness preparation, corroborating testimony, or assisting
  24 impeachment or rebuttal.’” United States v. Heine, 314 F.3d 498, 501 (D. Or. 2016).
  25 In United States v. Muniz-Jaquez, 718 F.3d 1180, 1184 (9th Cir. 2013), the Ninth
  26 Circuit reversed the trial court’s denial of evidence that the defense intended to use
  27 as impeachment. The appellate court held that the request “was not a fishing
  28 expedition.... [T]he tapes could have been crucial to [defendant’s] ability to assess
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   1 the reliability of Agent Woodford’s testimony and to cross-examine him effectively,
   2 both important issues in his defense.” Id.
   3         The agent and attorney notes, outlines, summaries, and correspondence are
   4 similarly important to the defense here. In the opening line of its Opposition
   5 (“Opp.”) brief to Puig’s Motion to Compel, the government wrote “defendant
   6 YASIEL PUIG VALDES told law enforcement that he had never talked to Agent 1
   7 about sports betting[.]” (Opp. (Dkt. 73) at 1:4-5) (emphasis added). In Puig’s ROI,
   8 however, the government wrote “when asked about PUIG’s and [Agent 1]’s
   9 involvement with sports betting, PUIG indicated that the two had not spoken about
  10 sports betting.” (Nuño Decl. (Dkt. 67) Ex. C at 3) (emphasis added). To “tell”
  11 someone something is not the same thing as “indicating” it; indeed the former is a
  12 subset of the latter. For example, one may “indicate” their uncertainty to someone
  13 with their body language, but that same person may not “tell” their uncertainty
  14 without actually speaking words themselves. In the context of the interview done
  15 through a translator, discrepancies such as this may make the difference in proving
  16 Puig’s innocence and are clear grounds for impeachment material.
  17         In the same brief, based on the declaration of AUSA Mitchell, the
  18 government wrote “the government privately advised defendant’s then-counsel that
  19 defendant’s statements were contrary to evidence the government had already
  20 obtained … but defendant did not change his prior statements.” (Opp. (Dkt. 73) at
  21 6:6-12.) In the ROI, however, it states that Puig had initially “indicated” that Puig
  22 and Agent 1 had not spoken about sports betting, but Puig later revealed that he
  23 asked Agent 1 to place a basketball bet for him. (Nuño Decl. (Dkt. 67) Ex. C at 3-4.)
  24 As evidenced by AUSA Mitchell’s declaration, the ROI is only one version of the
  25 “substance” of defendant’s statement, and any version would reveal additional
  26 potential discrepancies. The notes at a minimum are additional versions of “the
  27 substance of any relevant oral statement” made by Puig; and wherever any other
  28 versions exist, Puig is entitled to all of them. See Fed. R. Crim. P. 16.
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   1         Whether the foregoing non-exhaustive discrepancies were intentional or
   2 oversight is irrelevant to the current motion. In the end, inconsistencies exist in the
   3 very facts used to charge Puig, and that alone is sufficient under Brady to compel
   4 the requested discovery. See United States v. Beal, 2021 WL 1519993, at *2 (D.
   5 Haw. April 16, 2021) (recognizing agents’ interview notes are discoverable when
   6 there is no audio or video recording and “the only contemporaneous record of the
   7 defendant’s statements were the agents’ interview notes.”); See also Service Deli,
   8 151 F.3d at 943; DeMarco, 407 F. Supp. 107 at 111.3
   9         Moreover, the government has previously provided this Court with examples
  10 of how the agents take notes, which further demonstrates that the notes are crucial to
  11 illustrate differences between what the agents took down contemporaneously and
  12 what they filled in later, for narrative purposes. (See Mitchell Decl. (Dkt. 73-1) Ex.
  13 I (providing contemporaneous agent notes from interviews of Individuals 10, 20,
  14 and 25 in shorthand format with sporadic quotes of witness statements).) The Court
  15 should examine these examples carefully, and compare them to the more full
  16 narratives typically provided in finalized ROIs (which are themselves reviewed and
  17 approved by a supervisor). Here, because the case turns on what was said at the
  18 interview, if there are even the slightest differences in the original notes and the
  19 ROI, these may be dispositive to Puig’s case, especially given that Puig is a non-
  20 English speaker, only received a third-grade education, took the interview remotely,
  21 and a translator was used to convey the government’s questions to Puig and
  22 everything that Puig said to the government. They are therefore discoverable not
  23 only under Brady, but also should be produced for impeachment. It would certainly
  24 be relevant impeachment of the case agent to compare the notes and the ROI, and
  25
       3
  26  Any issues should be resolved in favor of production. See Heine, 314 F.R.D. at
     501 (“Rule 16 is broader than Brady because ‘[i]nformation that is not exculpatory
  27 or impeaching may still be relevant to developing a possible defense.’”) (Internal
  28 citations omitted).
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   1 ask about additions, or more narrative explanations, that exist in the ROI that are not
   2 in the notes. This is classic and critical impeachment material, and is a further
   3 ground supporting the required production of the notes.
   4 IV.    CONCLUSION
   5        For the foregoing reasons, Puig respectfully requests that this Court issue an
   6 order compelling the government to produce the requested discovery on Puig’s
   7 January 27, 2022 interview.
   8
   9 DATED: August 2, 2023                WAYMAKER LLP
  10
                                          By: /s/ Keri Curtis Axel
  11                                          Keri Curtis Axel
  12                                          Jose R. Nuño
                                              Attorneys for Defendant Yasiel Puig Valdes
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